19 F.3d 21w
    NOTICE: Seventh Circuit Rule 53(b)(2) states unpublished orders shall not be cited or used as precedent except to support a claim of res judicata, collateral estoppel or law of the case in any federal court within the circuit.Roy W. LUNA, Plaintiff-Appellant,v.Donna E. SHALALA, Secretary of the Dept. ofHealth and Human Services, Defendant-Appellee.
    No. 93-1845.
    United States Court of Appeals, Seventh Circuit.
    Argued Jan. 25, 1994.Decided Feb. 22, 1994.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    